           Case 1:16-cr-00763-LGS Document 792 Filed 10/21/20 Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
 --------------------------------------------------------------X
                                                              :
 UNITED STATES OF AMERICA                                     :
                                              Plaintiff,      :
                                                              :    16 Cr. 763-07 (LGS)
                            -against-                         :
                                                              :         ORDER
 HATEM BEHIRY,                                                :
                                              Defendant, :
 ------------------------------------------------------------ X
LORNA G. SCHOFIELD, District Judge:

          WHEREAS Defendant Hatem Behiry was sentenced, and judgment was entered on

October 6, 2020. (Dkt. No. 789)

          WHEREASA the Judgment incorrectly states a surrender date of February 19, 2020. It is

hereby,

          ORDERED that Defendant Hatem Behiry shall surrender for service of sentence at the

institution designated by the Bureau of Prisons before 2:00 p.m. on February 19, 2021.


Dated: October 21, 2020
New York, New York
